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4    Telephone: (916) 554-2797
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7
8                 IN THE UNITED STATES DISTRICT COURT FOR THE
9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )    CR. S-08-0363-GEB
12             Plaintiff,             )
                                      )   STIPULATION AND [PROPOSED] ORDER
13                                    )   CONTINUING STATUS CONFERENCE AND
          v.                          )   EXCLUDING TIME
14                                    )
     DAVID ROBBIE FORKNER, and        )
15   LORETTA LEIGH CANHAM             )
                                      )
16             Defendants.            )    Hon. Garland E. Burrell
                                      )
17
18
          The parties request that the status conference currently set
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     for March 26, 2010, be continued to April 23, 2010, and stipulate
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     that the time beginning March 26, 2010, and extending through
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     April 23, 2010, should be excluded from the calculation of time
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     under the Speedy Trial Act.     The parties submit that the ends of
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     justice are served by the Court excluding such time, so that
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     counsel for each defendant may have reasonable time necessary for
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     effective preparation, taking into account the exercise of due
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     diligence.    18 U.S.C. § 3161(h)(7)(B)(iv); Local Code T4.
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          The parties need additional time for preparation.
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1    Therefore, the parties have agreed and respectfully request that
2    the Court set the date of April 23, 2010, for the status
3    conference.
4          The parties stipulate and agree that the interests of
5    justice served by granting this continuance outweigh the best
6    interests of the public and the defendants in a speedy trial.
7    18 U.S.C. § 3161(h)(7)(A).
8                                           Respectfully Submitted,
9                                           BENJAMIN B. WAGNER
                                            United States Attorney
10
11   Dated: March 24, 2010              By:/s/ Michael M. Beckwith
                                           MICHAEL M. BECKWITH
12                                         Assistant U.S. Attorney
13
     Dated: March 24, 2010              By:/s/ John Manning
14                                         JOHN MANNING
                                           Attorney for defendant
15                                         DAVID ROBBIE FORKNER
16   Dated: March 24, 2010              By:/s/ Dennis S. Waks
                                           DENNIS S. WAKS
17                                         Attorney for defendant
                                           LORETTA LEIGH CANHAM
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1
                                         ORDER
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          For the reasons stated above, the status conference for
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     defendants, David Robbie Forkner and Loretta Leigh Canham, in
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     case number CR. S-08-0363-GEB, currently set for March 26, 2010,
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     is continued to April 23, 2010; and the time beginning March 26,
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     2010, and extending through April 23, 2010, is excluded from the
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     calculation of time under the Speedy Trial Act for effective
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     defense preparation.       The Court finds that interests of justice
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     served by granting this continuance outweigh the best interests
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     of the public and the defendants in a speedy trial.            18 U.S.C. §
11
     3161(h)(7)(A) and (B)(iv).
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13
     IT IS SO ORDERED.
14
15   Dated:    March 25, 2010

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17                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
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